Case 19-10863 DOC 1 Filed 01/22/19 Page 1 Of 54

Fill iii this information to identify your case:

 

united States Bankrupicy court iorihe: ; i t"""

 

l §1‘“ § ii;;
§ Disin'ci of iviaryiand ¥ t a “»
CaSe number (/fknown): Chapter you are ming under: § 23 §§ J;§it§} 2 2 P§.§ 2; 5 5
' Chapter 7 §
U Chapter 11 § d.,.,§

 

‘ E

    
   

 

El chapter12 4 § _
Cl chapter 13 Di€£heck ifthis is an

. “ _ ~. amended filing

11 los

W it »lO\i

Voluntary Petition for lndividuals Filing for Bankruptcy 12/15

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may me a bankruptcy case together-called a
joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. ln joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this fonn. 0n the top of any additional pages, write your name and case number
(if known). Answer every question.

 

q

 

 

 

 

Identlfy Yourself

 

 

 

y About Debtor 1: About Debtor 2 (Spouse only in a Joint Case):
1. Your full name
Write the name that is on your
§ government-issued picture Natarsha F_
identification (for example, F"s' name "st name
l your driver's license or Lyl'\n
passport). Middle name Middle name
Bring your picture Wats°n
identification to your meeting Lasf name LaSi name
§ with the trustee.

suan (sr., .ir., ii, iii)

suffix (sr., Jr., ii, iii)

 

2. All other names you

 

 

 

 

 

 

 

 

(iTiN)

have used in the last 8 pm name Fi,st name
‘ years
|nc|ude your married or Middle name Middle name
§ maiden names.
5 Last name Last name
§ First name First name
Midd|e name Middle name
Lasi name Last name
3. oniy the iasi 4 digits of
5 yourSocialSecurity xxx _xx"--z---§’--J~L XXX _xx"-_----_---
number or federal oR oR
lndividual Taxpayer 9 9
identification number Xx ° Xx " _._._ ____ ____ XX '° XX ____ ______ ____ _____

 

official Form 101

Vo|untary Petition for individuals Filing for Bankruptcy page 1

 

 

 

Case 19-10863 Doc 1

Debiom Natarsha Watson

 

Frist Name

4. Any business names

and Employer

identification Numbers
(ElN) you have used in

the last 8 years

§ include trade names and
" doing business as names

Last Name

About Debtor 1:

m i have not used any business names or Ele.

Case number (irimown)

 

Business name

 

Business name

Ei'i"`

M_`

 

 

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About Debtor 2 (Spouse Only in a Joint Case):

n l have not used any business names or Ele.

 

Business name

 

Business name

EN__

Eiii"'_

 

5. Where you live

 

 

 

 

 

 

 

q_¢

§ if Debtor 2 lives at a different address:
34 Hamlet Drive
Number Street Number Stieet
Owings Mills MD 21117
City State ZlP Code City State Z|P Code
Baltimore County
County County

if your mailing address ls different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address

if Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

Number Street

 

 

 

P.O. Box P.O. Box
City State ZlP Code City State ZlP Code
6. Why you are choosing Check one: Check ones

this district to file for

bankruptcy

m Over the last 180 days before filing this petition,
l have lived in this district longer than in any
other district

m l have another reason. Explain.
(see 28 u.s.c. § 1408.)

 

 

 

 

EI over the last 180 days before ming this petition,
l have lived in this district longer than in any
other district

n l have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

 

Ofiicial Form 101

Voiuntary Petition for individuals Filing for Bankruptcy page 2

 

 

 

 

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vernon Natarsha Watson case number(n,..,w,,,
First Name Mlddle Name Last Name
m Te|l the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankmptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file
under w Chapter 7

Cl Chapter 11
i:l Chapter 12
i:l Chapter 13

s. How you will pay the fee Cl l will pay the entire fee when | file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre~printed address.

Cl l need to pay the fee in installments if you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in installments (Oificial Form 103A).

w l request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By iaw, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). if you choose this option, you must till out the Application to Have the
Chapter 7 Filing Fee Waived (Ofiicial Form 103B) and iie it with your petition,

 

 

 

 

 

 

 

9. Have you filed for m No
bankruptcy within the
last 8 years? El Yes. District When Case number
MM / DD / YYYY
District When Case number
MM/ DD / YYYY
District When Case number
MM/ DD / YYYY
10. Are any bankruptcy q N°
cases pending or being
filed by a spouse who is a Yes. Debtor Relationship to you
not filing this cajse with District When Case number, if known
you, or by a business MM / DD ,YYW
partner, or by an
affiliate?
Debtor Relationship to you
Distn'ct When Case number, if known
MM / DD l YYYY
11- Do _v°u rent your w No. co to line 12.
res'de"c°? n Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

residence?

El No. Go to line 12.

[J Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Officlal Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 3

 

 

 

 

,_A`

Case 19-10863 DOC 1 Filed 01/22/19 Page 4 Of 54

Debtor1 Natarsha Watson Case number armour

First Name Middle Name l.ast Name

 

Report About Any Businesses You own as a Sole Froprietor

12. Are you a sole proprietor a No_ Go to pan 4_
of any full- or part-time
business? cl Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

. h~ , r
l;i|_¢~,é>.rporation. partners lP ° Number Street

 

Name of business, if any

 

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition

 

 

City State ZlP Code

Check the appropriate box to describe your business:

C\ Health Care Business (as defined in 11 U.S.C. § 101(27A))
n Single Asset Rea| Estate (as defined in 11 U.S.C. § 101(51B))
a Stockbroker (as deiined in 11 U.S.C. § 101(53A))

cl Commodity Broker (as defined in 11 U.S.C. § 101(6))

n None of the above

13. Are you filing under lf you are nling under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines lf you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-i_iow statement and federal income tax return or if
are you a Sma” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

debt°n _ _ m No. l am not filing under Chapter11.

For a definition of small

business debtor, See n No. l am filing under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C~ § 101(510)- the Bankruptcy Code.

n Yes. l am iiling under Chapter 11 and i arn a small business debtor according to the definition in the
Bankruptcy Code.

mlleport if You Own or Have Any l'|azardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any m No
ro e that poses or is

:|lege:¥t° pose a threat n ¥e$. What iS the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, ora building

 

 

if immediate attention is needed, why is it needed?

 

 

 

 

 

that needs urgent repairs?
Where is the property?
Number Street
City State ZlP Code
Otficial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 4

 

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 5 Of 54

Debtor 1 Natar$ha WatSOn Case number (irkmm)

First Name Middle Name Las1 Name

maplain Your Efforts to Receive a Briefing About Credlt Counsellng

 

15. Teli the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy You must
truthfully check one of the
following choices. lf you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

 

Official Form 101

About Debtor 1:

You must check one:

a l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

V\hthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that l asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. |f you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

ij l am not required to receive a briefing about
credit counseling because of:

n lncapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

E| Disabiiity. My phyeieai disabiiity causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after l
reasonably tried to do so.

i:l Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Oniy in a Joint Case):

You must check one:

cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cl l received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, but l do not have a
certificate of completion.

Vlhthin 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisned with your reasons for not receiving a
briefing before you filed for bankruptcy

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. lf you do not do so, your case
may be dismissed

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n l am not required to receive a briefing about
credit counseling because of:

Cl lncapacity. l have a mental illness or a mental '
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

n Disabillty. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even afterl
reasonably tried to do so.

n Active duty. l am currently on active military
duty in a military combat zone.

 

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Vo|untary Petition for individuals Filing for Bankruptcy page 5

 

 

 

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mill FA/rzf%§m@rb /r//rz:§o/).

LBStName

Case number <irioiown)

Part 6: Answer These duestlons for Reporting Purposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C, § 101 (8)
as “incurred by an individual primarily for a personal, family, or household purpose."

Ci No. co to line 16b.
m Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

m No. Go to line 16c.
Ei Yes. coioiine 17.

16. What kind of debts do
you have?

160. State the type of debts you owe that are not consumer debts or business debts.

 

 

' 17. Are you filing under
Chapter 7?

Do you estimate that after m Yes. l am Eling under Chapter 7. Do you estimate that after any exempt property is excluded and

n No_ | am not filing under Chapter 7. Go to line 18.

any exempt property is administrative expenses are paid that funds will be available to distribute to unsecqu creditors?
excluded and g N°

administrative expenses

are paid that funds will be a Ye$

available for distribution
to unsecured creditors?

 

 

Ei 25,001_50,000

 

18. How many creditors do N1-49 El 1,000-5,000
you estimate that you Cl 50-99 El 5,001-10,000 El 50,001-100,000
°We? Ei 100-199 EJ 10,001-25,000 Cl More than 100,000
Cl 200-999
is. How much do you l§[ $0-$50,000 Ci $1.000,001-$10 million El $500,000,001-$1 billion

estimate your assets to
be worth?

El sso,ooi-$ioo,ooo
El $100,001-$500.000
Ei ssoo,ooi-si million

Ei $10,000,001-$50 million
Cl $50,000.001-5100 million
Ci sioo,ooo,ooissoo million

Ei $1,000,000,001_$10 billion
Ei $10,000,000,001-$50 billion
El Moie than $50 billion

 

. How much do you

estimate your liabilities
to be?

Sign Below

For you

gsc-sso,ooo

$50,001-$100,000
Ei 5100,001-$500,000
EJ $500,001-$1 million

L`.l $1,000,001-$10 million

Ei $10,000,001-$50 million
Ei $50,000,001-$100 million
0 $100,000,001-$500 million

L`.i $500,000,001-$1 billion

Ei $1,000,000,001-$10 billion
El $10,000,000,001-$50 billion
El More than $50 billion

 

l have examined this petition, and l declare under penalty of peijury that the information provided is true and

CQI'I'SCL

if l have chosen to file under Chapter 7, l am aware that l may proceedl if eligible, under Chapter 7, 11,12, or 13

of title 11, United States Code. l understand the relief available under e

under Chapter 7.

lf no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out

ach chapter, and l choose to proceed

this document, l have obtained and read the notice required by 11 U.S.C. § 342(b).
l request relief in accordance with the chapter of title 11, United States Code, specified in this petition,

l understand making a false statementl concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

swimmer/j x

Signature of Debtor 1

Executedon m 21 201

MM /DD /YYYY

 

 

 

thcia| Form 101

 

Voluntary Petition for individuals Filing for Bankruptcy

 

 

 

Signature of Debtor 2

Executed on
MM / DD /YYYY

 

 

 

page 6

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 7 Of 54

Debtor1 Nata|'$ha WatSOn Case number (irimown)

Flist Name Mddie Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12l or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
lf you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attomey, you do not

For your attomey, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Dafe
Signature of Attomey for Debtor MM / DD /YYYV
Printed name
Firm name
Number Street
City State ZlP Code
Coniact phone Email address
Bar number State

 

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 7

 

 

 

` Case 19-10863 Doc 1 Filed 01/22/19 Page 8 of 54
Debtor1 FMMFM<§/?aé //L/d'/N//) Case number iii/irwin

Ln$iName

 

 

 

 

 

 

 

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

if you are represented by
an attomey, you do not To be successful, you must correctly file and handle your bankruptcy case. The rules are very

need to file this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit if that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to me with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules if you do not list a debt, the debt may not be discharged if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

if you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an attomey, The court will not treat you differently because you are filing for yourself. Tc be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that iiling for bankruptcy is a serious action with long-term hnancial and legal
consequences?

n No

m Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

m No

m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

DNo

m ¥es. Name cf Person Thel'e$a HaYWOOd .
Attach Bankruptcy Petition Prepaier’s Notice, Declaration, and Signature (Ofiicial Form 119).

By signing herel | acknowledge that l understand the risks involved in filing without an attomey. I
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property ifl do not properly handle the case.

xO?/cm_iu%uwm, x

 

 

signature of Debtdr 1\ signature or Debior 2
Date pl 1 l w 2 Date
MM/Do /vYYv MM/ pi)/YYYY
Ccnfact phone Contact phone

 

 

Ceil phone %3 ij »Qé " 756 7 g Ceil phone
Email address Hkm /CS,/U// ///4{500 Wg/j/%W/- %€ii/]auuress

 

 

   

Officia| Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8

 

 

 

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 9 Of 54

Fi|i in this information to identify your case:

Debtor1 Natarsha Watson
First Name

Debtor 2
(Spouse, if tiling) Fiist Name Middie Name

 

United States Bankruptcy Couit for ther District of Maryland

Case number
(lf knownl

 

 

   

Official Form 1068um

Summary of Your Assets and Liabiiities and Certain Statistical information 12/15
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

lnformation. Fiil out all of your schedules first; then complete the information on this form. if you are filing amended schedules after you file
your original forrns, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own
. 1. Schedule A/B: Property (Ofiicial Form 106A/B)

 

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B .......................................................................................................... $ -_-_-0_'99-
1b. Copy line 62, Total personal property, from Schedule A/B ............................................................................................... $ 4,880.00
1c. Copy line 63. Total of all property on Schedula A/B ......................................................................................................... $ 4,880_00
msummarize ¥our Liabilities
Your liabilities

t Amount you owe
y 2. Schedu/e D: Cleditors Who Have C/aims Secured by Property (Ofticial Form 1060) 2 0 074 00
2a Copy the total you listed in Co|umn A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............ $ ___-___’___'___

, 3. Schedule E/F: Credifors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ $ 0'00

3b. Copy the total claims from Pait 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ....................................... + $ 18,635_31

 

 

 

 

 

j your tom liabilities s 38»709-31
msummarlze Your income and Expenses
4. Schedule l: Yourlncome (Ofiicial Form 106|) 3 883 00
Copy your combined monthly income from line 12 of Schedule l .......................................................................................... s ----l---L-_-
5. Schedu/e J: Your Expenses (Ofticial Form 106J)
` Copy your monthly expenses from line 226 of Schedule J ................................................................................................... $ ___i’_(_)l5_9£

 

Oft`icial Form 1068um Summary of Your Assets and Liabiiities and Certain Statistical information page 1 of 2

 

 

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 10 Of 54

Debtor1 Natarsha Watson

Case number (irimwni
First Name Middie Name Last Name

 

Part 4: Answor These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
g cl No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules
y m Yes
§ 7. What kind of debt do you have?

w Your debts are primarily consumer debts Consumer debts are those "incurred by an individual primarily for a personai,
family, or household purpose.” 11 U.S.C. § 101 (8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

n Your debts are not primarily consumer debts You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules

 

` 8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Oflicial
Form 122A-1 Line 11; oR, Form 1223 i.ine 11; oR, Fonn 1220-1 Line 14. 5 3,883.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:

9a. Domestic support obligations (Copy line Sa.) $ 0~00
9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0-00
9c. Ciaims for death or personal injury while you were intoxicated (Copy line 6c.) $___.______________0'00
sd. student ioans. (copy iine er.) s 0-00
9e. Obligations arising out of a separation agreementh divorce that you did not report as $ 0_00

priority claims. (Copy line Gg.) _*_`*°'**~_-
9f. Debts to pension or pront-sharing plans, and other similar debts. (Copy line 6h.) + s 0.00
sg. Toe.i. Add iines 9a through sf_ $ 0.00

 

 

 

 

 

Officiai Form 1063um Summary of Your Assets and Liabiiities and Ceriain Statistical information page 2 of 2

 

Case 19-10863 DOC 1 Filed 01/22/19

Fill in this information to identify your case and this fi|ihg:

Natarsha Watson

FIIS! Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

M|ddle Name

United States Bankruptcy Court for the: District of Maryland

Case number

 

 

 

 

 

Officia| Form 106A/B
Schedu|e AlB: Property

 

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E] Check if this is an
amended filing

12l15

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

m Describe Each Residence, Buiiding, Land, or other Real Estate You own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residence, building, iand, or similar property?

m No. Go to Part 2.
Cl Yes. Where is the property?

What is the property? Check all that apply.

Cl singlefamiiy home

1.1. Du l orm l'- nit ui| in
Street address ifavailable, orotherdescription g C pdex _ _ un u b dug
on ominium or ooopera ve

 

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditvrs Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

n Manufactured or mobile home entire property? portion you own?
n Land $ $
n investment property
_ |;| Timesha,e Describe the nature of your ownership
C"Y Swte Z"’ C°de cl Om interest (such as fee simple, tenancy by
er the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
n Debtor1 only

County n Debtor 2 only

E] Debtor 1 and Debtor z only

cl At least one of the debtors and another

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

|f you own or have more than one, list here:

What is the property? Check all that apply.

n Single-family home

1.2. i_ - - -n
Street address, if availablel or other description cl Dup|ex °_r mun umt bu||d' g
a Condominium or cooperative

 

 

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedu/e D.'
Credilors Who Have Claims Seculed by Property.

Current value of the Current value of the

 

 

 

 

 

n Manufactured or mobile home entire property? portion you own?
n Land $ $
m investment property f
Describe the nature o your ownership
City State ZlP Code n T'meshare interest (such as fee simple, tenancy by
n Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
n Debtor1 only
county cl Debtor 2 only

n Debtor1 and Debtor 2 only

El At least one of the debtors and another

cl Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

official Form 106A/B Schedule AlB: Property

 

page 1

 

 

Case 19-10863 DOC 1

Debtor1 Natarsha Watson

 

 

F\rst Name Middle Name

1 .3.

Last Name

 

Street address, if available, or other description

 

 

 

cl Manufactured or mobile home entire property? portion you own?
Cl Land $ $
cl |nvestment property
~ - Describe the nature of your ownership
c stat er Coo
ny e e g T'meshare interest (such as fee simple, tenancy by
O“‘e' the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
m Debtor1 only
County cl Debtor 2 only
EI Debtor1 and Debtor 2 only n Check if this is community property
n At least one of the debtors and another (see mstm°t'°ns)
0ther information you wish to add about this item, such as local
property identihcation number:
~ 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages 3 O_()()
you have attached for Part 1. Write that number here. ...................................................................................... 9 ‘

m Describe Your Vehicies

What is the property? Check all that apply.
El Single-family home

E] Duprex or mum-unit building

n Condominium or cooperative

 

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Case number army

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Cleime Secuned by Property.

Current value of the Current value of the

 

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
you own that someone else drives. lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

n No

g Yes

3_1_ Make: Honda
Model: CMC
Year: 2017
Approximate mileage: 281000

Other information:

 

 

 

 

lf you own or have more than one, describe here:

3_2_ Make:
Model:
Year:
Approximate mileage:
Other inforrnation:

 

 

 

 

Officia| Form 106A/B

Who has an interest in the property? Check one.
m Debtor1 only

n Debtor 2 only

E] Debtor 1 and Debtor 2 only

m At least one of the debtors and another

U Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

cl Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor2 only

n At least one of the debtors and another

cl Check if this is community property (see
instructions)

Scheduie AlB: Property

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Credr`tors Who Ha ve Ciaims Secured by Proper?y.

Current value of the Current value of the
entire property? portion you own?

$ 20,074.00 $ 0.00

 

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Ciaims Secured by Properry,

Current value of the Current value of the
entire property? portion you own?

page 2

 

 

 

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Debtor1 Natarsha Watson

 

 

 

 

 

 

Case number (irrmown)
Frrst Name Midd|e Name Lam Name
3_3A Make: who has an interest in the property? Check °"e- Do not deduct secured claims or exemptions Put
n Debtor 1 nn|y the amount of any secured claims on Schedule D.'
Model: Creditors Who Have Ciaims Secured by Froperty.
. cl Debtor 2 only '
Yea'- a Dnntnr 1 and Debtor 2 only Current value of the Current value of the
- - . entire ro ? ortion ou own?
APPr°x'mate m'|eage~ -_--__-_ cl At least one of the debtors and another p party p y
Other information:
§ n Check if this is community property (see $ $
§ instructions)
_.Wi
3_4. Make: who has an interest in the property? Check °"e- Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Mode|: cl Debtor 1 only Creditors Who Have Ciaims Secured by Froperty.
Yea n Debtor 2 only
r:

m Debtor1 and Debtor 2 on|y Current value of the Current value of the

_ » . entire ro ? rtion ou own?
Approx'mate m'|eage~ m At least one of the debtors and another p petty po y

Other information:

 

 

0 Check if this is community property (see $ $
instructions)

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

m No
m Yes
4_1, Make: wh° has an interest in the Property? Check °"e~ Do not deduct secured claims or exemptions Put
n Debtor 1 on| the amount of any secured claims on Scheduie D.'
Model: y Creditors Who Have Claims Secured by Pmperty.
Y a Cl Debtor2 only
e r:

cl Debtor 1 and Debt°' 2 °"'y Current value of the Current value of the

 

 

 

 

 

 

 

 

 

 

other i"f°"nati°ni n At least one of the debtors and another entire property? portion you own?
C\ Check if this is community property (see $ $
instructions)
lf you own or have more than one, list here:
4_2A Make: who has an interest in the Pr°p°n~y? Check °"e- Do not deduct secured claims or exemptions Put
n Debtor 1 nl the amount of any secured claims on Schedule D:
Model; ° y Credilors Who Have Claims Secured by Property.
a Debtor 2 only ' y
Yearf a Debtor 1 and Debtor 2 only Current value of the Current value of the
. . _ entire ro ? rtion ou own?
other 'nf°"nat'°n~ n At least one of the debtors and another p petty po y
n Check if this is community property (see $ $
instructions)
' 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages O_O()
you have attached for Part 2. Write that number here ........................................................................................................................ -)

 

thcia| Form 106A/B Scheduie AlB: Property page 3

 

 

 

 

Natarsha Watso§ase 19-10863 DOC 1 Filed 01/22/19 Page 14 Of 54

Debtor1 Case number (irmown)

 

Flrst Name Midd|e Name Lasi Name

Part 3: Describe Your Personal and Household ltems

 

Current value of the
portion you own?
Do not deduct secured claims

` Do you own or have any legal or equitable interest in any of the following items?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

of eXempfiol'tS.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
a NQ §,,t.. a ,.,-W..` ...._`,_-..,,.WM._...,…,… ,2... , W. __ ,, _ 4 ,, ___…§, ,,…§
m Yes- Describe --------- household furnishings and appliances § $ 420-00
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games
n No … n t § .`
m Y°S- Describe ~~~~~~~~~~ Cel|phone(s) & television(s) $ 125-00
8. Collectibles of value
Examples: Antiques and ngurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coinl or baseball card collections; other collections, memorabilia, collectibles
m No ,_ ,. .y …._ § … ,…… , … s .. ,. t ,. ,
n Yes. Describe .......... $
9. Equipment for sports and hobbies
§ Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry too|s; musical instruments
m No l ,t l y ,M …
El Yes. Describe..........§ § $
10. Firearms
Examples: Pisto|s, rifles, shotguns, ammunition, and related equipment
E] Yes. Describe .......... $
11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
El No , .
m YeS- DeSCIibQ------~--~§ Womens and child(ren) clothing, shoes, coats, jackets, etc. $ 275-00
12.Jewelry

Examp|es: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heir|oom jewelry, watches, gems,
go|d, silver

   

 

 

  

 

 

 

n N° W h 60 00
m Yes' D°s°"b° """" Watch§cosmetlciewelw , _… ,/ t _, , _, §§ ,_ ,,._ $-------'-~
13. Non-farm animals
Examples: Dogs, cats, birds, horses
m No c
m Yes. Describe ....... $
14. Any other personal and household items you did not already list, including any health aids you did not list
m No
l:l Yes. Give specinc § $
information' ........... ;,m. . ..~ ~ ~. yes §.., §,.," 7 .,~~' ,_, ,,... re ,..vv~., s ,.< .W .,,t,§\ ,_. §,.,.`, ,.. ,, 4 _,,,, new ,tt.`,,,, ,W,,W ,,c c …./,». ,.WV ,., . , ,,..n..,,<._‘,,,. >,`. `,,,, ,,r ,_ ,,`., `,," cwt ,.e ,,,
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached 5 880_00
for Part 3. Write that number here .................................................................................................................................................... ')

 

 

 

Ofticial Form 1 OSA/B Scheduie AlB: Property page 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 19-10863 DOC 1 Fi|ec| 01 /22/1 9 Page 15 of 54
Debtor1 Natarsha Watson Case number (irkmm)
First Name Middle Name Last Name
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
m No
n Yes ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ Cash: ....................... $
17. Deposits of money
Examp/es: Checking, savings, or other nnancial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
n No
m Yes ..................... institution name:
17_1_ checking account Navy Federal Credit Union $ 0_00
17.2. Checking account M&T Bank $ 0.00
17.3. Savings account $
17.4. Savings account: $
17.5. Certiicates of deposit: 3
17.6. Other financial account $
17.7. Other tinancial account: $
17,8. Other financial account $
17.9. Other financial accounts $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
m No
n Yes ................. institution or issuer name:
19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
m No Name of entity: % of ownership:
E] Yes. Give specific O% % 8
information about 0°/
them ......................... ° % 3
0
on % $

 

Ofncial Form 106A/B Scheduie AlB: Property page 5

 

 

 

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Debtor1 Natarsha Watson Case number nw

 

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

mNo

n Yes. Give specific issuer name:
information about
them ....................... $

 

 

 

21. Retirement or pension accounts
Examples: interests in IRA, ER|SA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
El Yes. List each
account separately. Type of account lnstitution name:
401 (k) or similar plans $
Pension plan: $
iRA; $
Retirernent account $
Keogh: $
Additional account $
Additiona| account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
a No
E] Yes .......................... institution name or individual:
E|ectn`c: $
Gas: $
Heating oil: $
Secun`ty deposit on rental unit: $
Prepaid rent $
Telephone: $
Water: $
Rented fumiture: $
Other: $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m No
a Yes .......................... issuer name and description:
$
$
$

 

Oflicial Form 106A/B Scheduie AIB: Property page 6

 

 

 

 

 

 

Natarsha Watsog;ase 19-10863 DOC 1 Filed 01/22/19 Page 17 Of 54

Debtor 1 Case number arm

 

Flrsi Name Miitdie Name Last Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U,S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

m No
a Yes ....................................

institution name and description Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

mNo

n Ves. Give specific §
information about them.,..§ $

26. Patents, copyrights trademarks, trade secrets and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

mNo

C\ Yes. Give specific (, ;
information about them....j $

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor iicenses, professional licenses

 

 

m No x W ” _
cl Yes. Give specific l ,
information about them....; $
Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions
28. Tax refunds owed to you
9 N<> t .i , , v t, ,, f t …, , 1
m Yes Give specific information - 3 000 00
` -: ;' Fed |: ’ '
about them including whether § Potentlal Tax Refund for 2018 Tax Year era $__.___.____
you already filed the returns ' § State; $_M
and the tax years. ....................... ; l
;' Locai:
29. Famiiy support
Examples: Past due or lump sum aiimony, spousal support, child support, maintenance divorce settlement property settlement
2l N<> , ,,,,,,,,, - ,,,,,,
m Yes. Give specific information...........… 3
' Aiimony: $
Maintenance: $
Suppon: $
Divorce settlement $
Property settlement $

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Sociai Security beneits; unpaid loans you made to someone else
m No

n Yes. Give specific information ...............

 

Official Form 106A/B Scheduie AlB: Property page 7

 

 

 

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Debtor1 Natarsha Wa_tson Case number (irknm)

 

 

31. interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowners or reuters insurance

ENo

n yes' Name the ipsuran°e, °‘_’mpany Company name: Beneficiary: Surrender or refund values
of each policy and list its value.

 

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died.

mNo

n Yes. Give specific information ..............

33. Ciaims against third partles, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue
No m
n Yes. Describe each claim. ....................

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

mNo

m Yes. Describe each claim. .................... j

  

35.Any financial assets you did not already list

m N° , 1 , w t_
n Yes. Give specific information ............ `

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here .................................................................................................................................................... ') $___.___M_Q_Q_:p_g

 

 

 

w Describe Any Business-Related Property ¥ou Own or Have an lnterest ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
m No. Go to Pait 6.
n Yes. Go to line 38.

 

 

Current value of the
portion you own?
iki not deduct secured claims
or exemptions
38. Accounts receivable or commissions you already earned
ill No t
a ¥es. Describe....l..§~
§ .:$

39. Office equipment, fumishings, and supplies
Examples: Business-related computers software, modems, printers, copiers, fax machines, nigs, telephones, desks, chairs, electronic devices
ill N<> t ,, t, l w t t .'., t m t
cl ¥es. Describe.....,.§ ?$

Official Form 106A/B Scheduie AlB: Property page 8

 

 

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Debtor1 Natarsha Watson Case numbero_,m)
FlistName MiddleName LastName

 

 

40. Machinery, tixtures, equipment, supplies you use in business, and tools of your trade

MNo

DYes.Describe ....... 7 7

 

 

41.lnventory
a Yes. Describe.......§' :$

42. interests in partnerships or joint ventures

la No

n Yes' Describe ~~~~~~ Name of entity: % of ownership:
% $
%
% $

69

43. Customer lists, mailing lists, or other compilations
a No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
a No t. ..,W ,(, , , ,…,`,,… .¢
l;l Yes. Describe.,......

 

44.Any business-related property you did not already list
a No

El Yes. Give specific
information .........

 

 

 

 

$$¢-869€8

 

 

61

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0_00
for Part 5. Write that number here .................................................................................................................................................... -) _°°"°°°`°_”"'“_

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You own or Have an interest ln.
if you own or have an interest in farmlandl list it in Part 1.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
m No. Go to Part 7.
cl Yes. Go to line 47.

Current value of the
portion you own?
Do not deduct secured claims
of exemptions.
47. Farm animals

Examples: Livestock, poultry, fann-raised fish

q No

n Yes “ 7

$

Official Form 106A/B Scheduie AlB: Property page 9

 

 

 

Natarsha Watsog)ase 19-10863 DOC 1 Filed 01/22/19 Page 20 Of 54

Debtor1 Case number wm

 

FiisiName MiddleName LastName

48. Crops--either growing or harvested

E] Yes. Give specific §
information ............ $

49. Farm and fishing equipment, implements machinery, fixtures, and tools of trade

mNo

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes _________________________ t ,_. , a . ., W. a
v n d $
50. Farm and fishing supplies, chemicals, and feed
m No
n Yes .......................... ' " ' ' ' f “ ”
V,~~W ,….. .. _ .. <W,.~e , ., …',…W,.…..~… _l, …t/… e,t,…. .….¢,». t,,..…A/…,.……,," ….. … \ , ..a_.._,.,_,_... ~. ,. . )_..A..….,,,..,.`…"..HW.…..» ,. ,...a,. 17 $
51.Any farm- and commercial fishing-related property you did not already list
E No
l:l Yes. Give specrh \ ;
information. ............ § $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ O_OO
for Part 6. Write that number here ................................................................. __ ............. -)
Fart 7: Describe All Property You own or Have an interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
n Yes. Give specific
information
54.Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. ') 0'00
List the Totals of Each Part of this Form
' 55. Pan 1: rawl mai estate, iine 2 .............................................................................................................................................................. -) $ 0'00
se. Part 2: Total vehicles, iine 5 s 0-00
57. Part 3: Total personal and household items, line 15 $ 880'00
58. Part 4: Total financial assets, line 36 $ 4’000'00
59. Part s: roiai business-reiated propeny, iine 45 $ 0-00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0'00
61. Part 7: Total other property not listed, line 54 + $ 0-00
g 62. Total personal property. Add lines 56 through 61. .................... $ 4'880'00 §Copy personal property total ') + $ 4,880.00
ea. Toiai or aii property on schedule A/B. Add line 55 + iine 62. ......................................................................................... $ 4»380-00
Officia| Form 106A/B Scheduie AlB: Property page 10

 

 

 

 

 

 

 

Case 19-10863 DOC 1

Fill in this information to identify your case:

Debtor 1

Debtor 2
(Spouse, if filing) Firsi Name

Natarsha Watson

 

 

Fiist Name Middie Name

 

Middle Name Last Name

united states Bankruptcy court for inez District of Maryland

Case number

 

(if known)

 

 

Official Form 106C

 

Scheduie C: The Property You Ciaim as Exempt

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El check ifihis is an
amended filing

12l15

 

Be as complete and accurate as possible. if two married people are iiiing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Oflicial Form 106A/B) as your source, list the property that you claim as exempt if more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt Altemativeiy, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory iimit. Some exemptions-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds-may be unlimited in dollar amount However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount

identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

w You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)

El You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

3.

thcia| Form 106C

Brief description of the property and line on Current value of the
Scheduie A/B that lists this property portion you own

Amount of the exemption you claim

Check only one box for each exemption.

U$

 

m 100% of fair market value, up to
any applicable statutory limit

U$

 

m 100% affair market value, up to
any applicable statutory limit

U$

 

Copy the value from
Scheduie A/B
Brief _
description; housebotd_nimshing_ s 420.00
Line from
schedu/e A/B: 6
Brief .
description; £ie.cltcnic§_____ s 125.00
Line from
Scheduie A/B: l`_"
Brief
description: _C_lQIll$_$.______ $ 275-00
Line from

Scheduie A/B: _1.1__

Are you claiming a homestead exemption of more than $155,675?

(Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)

MNo

m 100% of fair market value, up to
any applicable statutory limit

l:l Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

n No
cl Yes

 

Scheduie C: The Froperty You Ciaim as Exempt

Specific laws that allow exemption

Courts & Jud. Proceedings
1 1-504(b)(4)

 

Courts & Jud. Proceedings
1 1-504(b)(4)

 

Courts & Jud. Proceedings
1 1-504(b)(4)

 

page 1 of ___

 

 

 

Case 19-10863 Doc 1
Natarsha Watson

Fust Name Middle Name

Additional Page

Brief description of the property and line
on Schedule A/B that lists this property

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Debtor1 Case number <rrkrrown)

 

LastName

Current value of tire
portion you own

Amount of the exemption you claim Speclflc laws that allow exemption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Copy the value from Check only one box for each exemption
Scheduie A/B
Brief Courts & Jud. Proceedin s
description: M.____ $ 60.00 m $ 1 1_504(b)(4) g
Line from 12 a 100% of fair market value, up to
Scheduie A/B_- any applicable statutory limit
Brief . Courts & Jud. Proceedin s
description: DeposmoLMoney__ $ 0.00 Cl $ 11_504(b)(4) 9
Line frgm 9 100% of fair market value, up to
Scheduie A/B_- _11-_1_._ any applicable statutory limit
Brief _ _ _ _
s m r;;;:d:r;rrn:,ird
Line from 28 g 100% of fair market value, up to ’
Scheduie A/B_~ ____ any applicable statutory limit
Brief
description: $ cl $
Line from El 100% of fair market value, up to
Scheduie A/B: any applicable statutory limit
Brief
description: _-_---_-- $ L_-l $
Line from n 100% of fair market value, up to
Scheduie A/B: _--- any applicable statutory limit
Brief
description: $ n $
Line from El 100% of fair market value, up to
Scheduie A/B_- °"~_' any applicable statutory limit
Brief
description: $ cl $
Line fr o m El 100% of fair market value, up to
Schedule A/B,- any applicable statutory limit
Brief
description: $ n $
Line from cl 100% of fair market value, up to
Scheduie A/B_- ____ any applicable statutory limit
Brief
description: ---_-----_-~ $ . n $
Line from 13 100% or farr market value, up to
Schedule A/B: ‘_ any applicable statutory limit
Brief
description: _----_----- $ m $
Line from n 100% of fair market value, up to
Scheduie A/B_- any applicable statutory limit
Brief
description: _----_-----_- $ a $
Line from E] 100% affair market value, up to
Scheduie A/B; ____ any applicable statutory limit
Brief
description: $ n $
Line from n 100% of fair market value, up to
Scheduie A/B: °°°'_'” any applicable statutory limit

Oflicial Form 1060

Scheduie C: The Property You Claim as Exempt

 

page 2_ of _

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 23 Of 54

Fill in this information to identify your case;

Debtor1 Natarsha Watson

Frrst Name Middle Name

 

Debtor 2
(Spouse, if frling) First Name Mid¢rre Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
nrrr.e~ni El cheek ir this is an

amended filing

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
L:l No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.
Yes. Fill in all of the information below.

m r.ist Arr secured claims
columntAf `i` ceitirnrra.j F j » fcer`um}n§o{

2. List all secured claims. |f a creditor has more than one secured claim, list the creditor separately Amount of claim ` value ¢`,ff¢~°h~a¢em, ~_ uh§§¢h,ed,
’ for each claim. lf more than one creditor has a particular claim, list the other creditors in Part 2. nom dedu`d-we y matsuth thh;y :p°m°n , 1y g `

 

 

 

 

 

 

 

 

 

 

 

 

 

z As much as possible, list the claims in alphabetical order according to the creditor’s name. vague deena/wah drum `,f`ahy :
iii Navy Federal Credit Union Describe the property that secures the claim: s 201074-00 $ 20»074-00 s O-OO
Creditor’s Name '
320 Fo|iin Lane Vehicle; 2017 Hona Civic
Number Street
Nfcu Headquarter$ Building As of the date you flle, the claim is: Check all that apply.
a Contingent
Vienna VA 221 80 I:I Uniiqujdated
City State Z'P C°d° Cl Disputed
Wh° °We3 the debt? Check °"e- Nature of lien. Check all that app|y.
q Debtor1 only q An agreement you made (such as mortgage or secured
a Debtor 2 only car loan)
a Debtor1 and Debtor 2 only n Statutory lien (such as tax lien, mechanlc's lien)
E] At least one of the debtors and another cl Judgment lien from a lawsuit

EJ other (irrciuding a right to onset)
\;l Check if this claim relates to a

 

 

 

 

 

 

 

 

 

 

community debt
Date debt was incurred Last 4 digits of account number__ __ __ __ 7 7
l-g£l Descrlbe the property that secures the claim: $ $ $
` Creditors Name .
Number Street
As of the date you file, the claim is: Check all that apply.
Cl Contingent
El unriqur<rated
city state ziP code n Dispu‘ed
Who owes the debf? Check <>ne- Neture of rien. cheek air that appiy.
cl Debtor 1 only cl An agreement you made (such as mortgage or secured
, cl Debtor 2 only car loan)
t l:| Debtor1 and Debtor 2 on¢y m Slatutory lien (such as tax lien, mechanic’s lien)
n At least one of the debtors and another n Judgmenf lien from a lawsuit

El other (inciu<ring a right re offset)
cl Check if this claim relates to a

community debt
Date debt was incurred Last 4 digits of account number _ __ __ __

Add the dollar val e of your entries in Column A on this page. Write that number here: E_.ZQ..O_ZA..QD l

 

Oflicial Form 106D Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of l_

 

 

 

Fill irl this information to identify your caso:

Debtor 1

Natarsha Watson

19

 

Flrst Name Middle Name

Debtor 2

(Spouse, ifflling) Flrst Name

United States Bankruptcy Court for the: District of Maryland

 

Middle Name

Case number

 

(lf known)

 

 

Ofiicial Form 106E/F

 

Page 24 of 54

Schedule E/F: Creditors Who Have Unsecured Ciaims

Be as complete and accurate as possible. Use Part 1 for creditors with PR|OR|TY claims and Part 2 for creditors with NCNPRlORlTY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Offlcial Form 106AIB) and on Schedule G.' Executory Contracts and Unexpired Leases (Officlal Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credltors Who Have Ciaims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuatlon Page to this page. On the top of
any additional pages, write your name and case number (if known).

must All of ¥eur PR|CR|TY Unsecured Ciaims

 

n Check if this is an
amended filing

12l15

 

§ 1. Do any creditors have priority unsecured claims against you?

13 No. co to Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

n Yes.
2. List all of your priority unsecured claims. if a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
' each claim listed, identify what type of claim it is. lf a claim has both priority and nonpn`ority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditors name. lf you have more than two priority
unsecured claims, till out the Continuation Page of Part 1. if more than one creditor holds a particular claim. list the other creditors in Part 3.
(For an explanation of each type of claim. see the instructions for this form in the instruction booklet.) t
row cliilir_riy __ . Prierity ,;~ »,Nonpriorltyi ,.
' ry a"\°um' t t a",`°/ um ';
2.1
Last4 digits of account number __ _ __ __ $ 5 $
Pn'ority Creditofs Name
When was the debt incurred?
Number street
As of the date you file, the claim is: Check all that apply.
city stale le code n C°"ti"ge"t
CJ unliquidated
Who incurred the debt? Check one. n Disputed
Cl Debtor1 only
0 Debtor 2 0an Type of PR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Domestic suppon obligations
At least one of the debtors and another m Taxes and certain other debts you owe the government
m check 'f this cmm ls for a community debt n Ciaims for death or personal injury while you were
ls the claim subject to offset? '"t°X'°ated
g N° C] oliier. specify
n Yes
|2'2 l Last4 digits efaccount number __ ___ __ _ 5 $ $
Prlerity creditors Name
When was the debt incurred?
Number Street
As of the date you tile, the claim is: Check all that apply.
cl Contingent
City State zlP Code cl Unliquidated
wire incurred the dem? cheek one n matude

thcial Form 106E/F

Cl Debtor 1 onry

Cl Debtor2 only

El Debtor 1 and oel>tor 2 only

m At least one of the debtors and another

El Check it this claim is for a community debt
ls the claim subject to offsot?
Ci No

n yYes

 

Type of PR|OR|TY unsecured claim:
cl Domestic support obligations

n Taxes and certain other debts you owe the government

n Ciaims for death or personal injury while you were
intoxicated
El omer. specify

 

Schedule EIF: Credltors Who Have Unsecured Ciaims

 

page 1 of

 

 

Debtor1 Natarsha Watsdr`aase 19-10863 DOC 1

 

Fiist Name Middle Name Last Name

List All of Your NoNPRlQR|TY Unsecured Claims

 

Fiieoi 01/22/1sacaser>n@gg(,fzm§>w")oic 54

 

 

: 3. Do any creditors have nonpriority unsecured claims against you?

n No, You have nothing to report in this part. Submit this form to the court with your other schedules

Yes

y 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. if a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim. list the other creditors in Part 3.lf you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i_'roraivr.iir_im ~ v '
E Abimy Reoovery Service Last4 digits of account number___ _____ __ ___ 973 00
_ Nonpn`ority Creditor‘s Name $______________;_.
POB 4031 When was the debt incurred?
Number Street
Wyoming, PA 18644
city sims zip code As of the date you file, the claim is: Check all that app|y.
L_.l Contingent
Who Incurred the debt? Check one. a Unliquidated
U oeoior1 only Cl oispuieo
n Debtor 2 only
Cl Debtor1 and senior 2 oniy Type of NoNPRioRirY unsecured oiarm:
l:l At least one of the debtors and another n Studem loans
n check if this claim is for a community debt L'.] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
ls the claim subject to offset? cl Debts to pension or pmm-sharing plans, and other similar debts
il No M oiher_ specify Consumer debt
o Ves
'2 | Capital One Bank Last 4 digits of account number _____ ____ __ ____ $________§_§4___9§
Normrioriiy creditors Name When was the debt incurred?
PO Box 30281
Number Street
Sa|t Lake City, UT 84130 As of the date you file, the claim is: Check all that apply.
City Sme zlp C°d° 0 Contingent
Who incurred the debt? Check one. cl Unli¢luidated
m Debtor1 only n Disputed
a Debtor2 only _
a Debtor1 and Debtor 2 omy Type of NONPR|OR|TY unsecured claim:
n At least one of the debtors and another n Student loans
_ _ n Ob|igations arising out of a separation agreementh divorce
l:l Check if this claim is for a community debt mai you did not report as priority claims
15 the claim subject to °"set? cl Debts to pension or profit-sharing plans, and other similar debts
21 No V other spooiiy Consumer debt
m Yes
3 Credence Resource Management Lasi 4 digits ofaccouni number ___ ___ ____ __ 894 00 §
Nonpriority Creditofs Name $_._________1____ z
When was the debt incurred?
POB 2300
Number Street
:;?uthgate’ SE; Z:E:d?§ As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one.

q Debtor1 oniy

Cl Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

cl Check if this claim ls for a community debt

ls the claim subject to offset?

U No
El Yes

Ofiicia| Form 106E/F

 

Schedule EIF: Creditors Who Have Unsecured Claims

 

n Contingent
Cl uniiquidaied
E] oispuieo

Type of NONPR|OR|TY unsecured claim:

m Student loans

a Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
g Debts to pension or protit~sharing plans, and other similar debts

U other specify Qonsum§r debt'

page __ of

 

 

 

Debtor1 Natarsha Watso€l`,ase19-10863 Doc1

 

Fllst Name Middle Name Last Name

 

Fiieoi 01/22/1@ase R§gewzc)oi 54

kIlDWI|

 

m Your NCNPRlCRlTY Unsecured Claims - Continuation Fage

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

row claim
Credit One Bank Last4 digits of account number _ _____ ___ ____ $ 509_83
Nonpriority Creditor‘s Name §
Wh '
PO Box 98872 en was the debt lncurred?
Number Street
LAS VEGAS' NV 89193 As ot the date you file, the claim is. Check all that apply.
city slate zlP code El contingent
El unliquidated
Who incurred the debt? Check one. cl Disputed
U Debtor1 only
El Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only n Studem loans
a At least °"e °f the debt°'s and another a Obligations arising out of a separation agreement or divorce that
Cl Check if this claim is for a community debt you md not re‘_mn as p"°my c'_a‘ms _ _
m Debts to pension or protit-sharlng plans, and other similar debts
le the claim subject to offset? d other Specify Consumer debt
g No
cl Yes
"EQulTY MANAGEMENT iNc., DAY viLi_AGE APT L“*‘ ‘”9“* °"°°°""‘ """‘°°' _ _ - -- $__»___3 619-78
Nonpriority Creditors Name h ?
W en was the debt incurred
511 AVONDALE RD
Number Street
. A fthe ate fi| , Ia` is:Check ll t .
Baltimore, MD 21222 s ° d you e the c 'm a ma app'y
City stale zlP code CI contingent
Cl unliquidated
Who incurred the debt? Check one. E] Disputed
q Debtor1 only
El Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
n Debtor1 and Debtor 2 only m Studem loans
n At ‘eaSt °"e °f the dem°'$ and another n Ob|lgations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not re‘.’°n as p"°my c|?'ms , _
m Debts to pension or profit-sharing plans, and other similar debts
ls the claim subler to offsef? q other specify Consumer debt'
q No
l:l Yes
l s 765.55
t First Premier Bank Last4 digits of account number ___ ___ __ ___ f
Nonpriority Creditor‘s Name
. When was the debt incurred?
3820 N Louise Ave
Number Street
. Asoftheda f'le, e laiml :Check ll t l.
Sloux Faiie SD 57107 “”°" ' "‘ ° ’ a "“" a"°’
city State ZlP Code U Contingent

Who incurred the debt? Check one.

a Debtor1 only

cl Debtor 2 only

El Debtor1 and Debtor 2 only

n At least one of the debtors and another

lIl check lr this claim is for a community debt

ls the claim subject to offset?

m No
n Yes

Ofi'lcial Form 106E/F

 

Schedule ElF: Creditors Who Have Unsecured Claims

EJ unliquidated
Cl Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obligations arising out of a separation agreementh divorce that
you did not report as priority claims

cl Debts to pension or profit-sharing plans, and other similar debts

5 oiller. specify Consumer debt

page ___ of __

 

 

 

Debtor1 NatarshaWatsc@ase19-10863 Doc1

 

F‘lsl Name Milii|e Name La$t Name

Filed 01/22/19033€§>\§,9€¢6;_,7mof 54

 

w Your NoNPRlCRlT¥ Unsecured Claims - ¢ontinuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. ' "'totai:clalmf~"_,"
Geico Last4 digits of account number _ _ _ _ $ 759_91 f
Nonpriority Creditor's Name
5260 Westem Avenue When was the debt lncurred?

N be street
gae;ly Chase MD 2081 5 As of the date you file, the claim is: Check all that apply.
city slate zlP code C] contingent
U unliquidated
Who incurred the debt? Check one. n Dispmed
q Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Studem loans
At least °ne °f the debtors and another n Obligations arising out of a separation agreement or divorce that
a Check if this claim is for a community debt you md not report as monty c|?'ms . _
n Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offsei? d Other, Spec,-fy Consumer Debt
d No
a Yes
Home Depot Last4 digits of account number _ _ _ _ s 511.50;
Nonpn`ority Creditor's Name
When was the debt inc red?
2455 Paeee Ferry Rd. Nw, “'
N ve sir t
Kt';a;`ta ee GA 30339 As of the date you file, the claim is: Check all thai apply.
city State ZlF Code cl Contingent
El unliquidated
Who incurred the debt? Check one. g Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
g Debtor1 and Debtor 2 only n Studem loans
At least one °f the debtors and another m Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you d'd not re‘_’°n as p"°"ty d?'mS _ _
n Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject w ¢ffsel? d owen speeiry Consumer Debt
g No
n Yes
$ 300.00 s
Kohls Last 4 digits of account number _ _ _ _ "`"`_ 1
Nonpriority Creditors Name
PO BOX 30285 When was the debt incurred?
N ber s
SHRLT LAKEM UT 84130 As of the date you file, the claim is: Check all that apply.
city state ziP code El Contingent

Who incurred the debt? Check one.

m Debtor1 only

n Debtor 2 only

cl Debtor1 and Debtor 2 only

n At least one of the debtors and another

m Check if this claim is for a community debt
ls the claim subject to offset?

w No
n Yes

Ofiicial Form 106E/F

 

Schedule EIF: Creditors Who Have Unsecured Claims

El unliquidated
C] Disputed

Type of NONPR|OR|TY unsecured claim:

n Student loans

m Obiigations arising out of a separation agreement or divorce that
you did not report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

q otner. specify Consumer Debt

page _ of _

 

 

 

Debtor1 Natarsha WatsoGaSe 19-10863 DOC 1

 

First Name Middle Name LB$! Name

 

Filed 01/22/1%,=1 Pagee”gn§moi 54

Se nUm

 

m Your NONPR|0R|1'Y Unsecured Claims - Continuation Page

 

`. Al‘ter listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Progressive Leasiqu

 

 

Nonpriority Creditors Name

256 West Data Dr

Number Street

Draper UT 84020
City State ZlP Code

Who incurred the debt? Check one.

q Debtor1 only

Ci Debtor2 only

n Debtor1 and Debtor 2 only

a At least one of the debtors and another

Cl Check if this claim is for a community debt
ls the claim subject to offset?

w No
n Yes

Cfficia| Fomi 106E/F

 

a mail claim ~ ~
M&T Bank Last4 digits ofaccount number ___ __ ___ ___ $ 11867_00
Nonpriorily Creditor's Name
Whe s t bt inc ?
One M&T Piaza " w° he de ""°d
Number Street
f , ° : l .
Buffa|o, NY 14203 NY 14203 As of the date you lie the claim is Check ali that appy
City state zlP code Cl Contingent
El unliquidated
Who incurred the debt? Check one. n Disputed
g Debtor1 only
E\ Debtor 2 only Type of NONPR|OR|TY unsecured ciaim:
Ci Debtor1 and Debtor2 only m Swdem loans
m Ai least °ne °f the debtors and another cl Obiigations arising out of a separation agreement or divorce that
n h cit if h laim is fo a comm n' debt you md not rep°n as pn°my c|a'ms
c o t is c r u ny 0 Debts to pension or proiit-sharing plans, and other similar debts
ls the claim subjectto oflset? il gwen Spe¢ify Consumer Debt
w No
n Yes
Nordstrom Last4 digits of account number __ __ ___ ___ $ 1 869.54'
Nonpiiority Creditors Name
When was the debt incurred?
1700 7th Ave
Number Street
As of the date ou file, the claim is: Check ll th t .
Seatlle WA 98101 ’ a a a°'°"
cily State ZlP Code [] Contingent
[Il unliquidated
Who incurred the debt? Check one, n Disputed
q Debtor1 only
U Debtor 2 only Type of NONPR|OR|T¥ unsecured claim:
g oeblorl and Debtorzonly n mudenuoans
At least one °f the debtors and another m Obligations arising out of a separation agreement or divorce that
EJ check if this claim is for a community debt y°“ d'° "°* '°‘_’°"‘ as p"°"ty °‘?'ms . _
n Debts to pension or pront-shanng plans, and other slmliar debts
is the claim subject to offset? m omer_ Specify Consumer Debt
a No
n Yes ,
[__l $ 1,286.61y

Last 4 digits of account number ____

When was the debt incurred?

As of the date you file, the claim is: Check all that appiy.

n Contingent
E.] unliquidated
El Disputed

Type of NONPR|OR|TY unsecured ciaim:

n Stl.ldent loans

cl Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims

0 Debts to pension or prolit-sharing plans, and other similar debts

q omer. specify Consumer Debt

Schedule ElF: Creditors Who Have Unsecured Claims page __ of __

 

 

nepieii Natarsha Wats®eseiQ-10863 Doci

F‘irs Name Middie Name Lasl Name

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¥our NONPR|0R|T¥ Unsecured Claims - Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_, After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. “ Total claim f '
Square Capita| Last4 digits of account number ___ ___ ____ ____ $ 1,416_23,
Nonpriority Creditors Name

Wh n '
1455 Market St e was the debt incurred?
Number Street
San Francisco, CA 94103 As of the date you file, the claim ls. Ched< all that apply.
City State ZlP Code 0 Contingent

E] unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
Cl Debtor 2 only Type of NONPR|OR|TY unsecured claim:
n Debtor1 and Debtor 2 only a student loans
g At west one °Hhe debt°rs and another n Obligations arising out of a separation agreement or divorce that

did not report as priority claims
ii kliih lai fe e mn dbi y°“
m c ec is c m is r a °m u ny o cl Debts to pension or proEt-sharing plans, and other similar debts
le the claim eubieei to arisen d owen Spe¢iiy Consumer Debt
mr No
n Yes
Target Last4 digits of account number ___ __ __ ___ $ 327.38 vi
Nonpriority Creditors Name
. When was the debt inc rred?
1000 Nloo||et Ma|l “
Number Street
. . A fthedte o flie,th lalmis:Check lllilt .

Mlnneapo|ls MN 55403 s ° a y " ° ° a a amy
City State ZlP Code L_.l Contingent

El unliquidated
Who incurred the debt? Check one. n Disputed
q Debtor1 only
EI Debtor 2 only Type of NONPR|GR|TY unsecured claim;
n Debtor1 and Debtor2 only n Studem hans
n At least one °f the debt°'$ and an°the' n Obligalions arising out of a separation agreement or divorce that
L_.i Check if this claim is for a community debt m y°u d'd not report as p"°"ty cl`:"'ms _ _

Debts to pension or pront-shanng plans, and other similar debts

ls the claim cubicc¢ w cffscf? q oiner. speedy Consumer Debt
w No
L_.l Yes

|__] $ 3,000.00y
Verizon Last 4 digits of account number ___ ___ ___ ___ _
Nonpn`ority Creditors Name

When was the debt incurred?
500 Technology Dr Ste 300
Number Street As of the date ou file the claim is~ Check all that a ly
Welden spring co 63304 y ' ' pp ‘
City Sich ZlP Code El Contingent
Ci unliquidaied
Who incurred the debt? Check one. [J Disputed
q Debtor1 only
L`.l center 2 only Type er NoNPRloRlTY unsecured elaim;
a Debtor1 and Debtor2 only n Student loans
a At least one °f me debtors and another n Obligations arising out of a separation agreement or divorce that
n Check if this claim is for a community debt you md not 'e‘_’°n as p"°my d?'ms _ _
n Debts to pension or prolit-shanng plans, and other similar debts
ls the claim subject tc cffcct? ill olner, specify Consumer Debt
q No
0 Yes
official Form 106E/F Schedule EIF: Creditors Who Have Unsecured Claims page __ of ____

 

__"

 

 

 

Debtor1 Natarsha WatsoGaseiQ-10863 Doci

 

Filed 01/22/1%3_§>“§9§ 30 of 54

r (ifknown)

 

First Name Miidle Name

La§Name

List others to Be Notified About a Debt That You Already Listed

 

, 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

` exampie, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parw 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. lf you do not have additional persons to be notified for any debts in Parls 1 or 2, do not fill out or submit this page.

MARSDEN, ELLIOTT JAY

 

 

 

 

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor’?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
ONE N CHARLES ST_,#2300 Line i of (Check one): U Part1: Creditors with Priority Unsecured Claims
Nu'“°°' S*'°°' d Part 2: Creditors with Nonpriority Unsecured Claims
. L 4 ' ' f t m
Baltimore Mo 21201 “' "'9"5 ° a°°°“" "" "°'- - -- -
C"Y s S‘H'SZ'P°°°° s, ,, ,
Cn which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
N“'“be' S”°°‘ Cl Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_ _ _ _
city slate ziP code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): CI Part 1: Creditors with Priority Unsecured Claims
Number S"°°* n Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
¢ify , n », l ,, , $*§ie , _,ZiP Code , , ,_, ,, , .,,. t , _ , , , ,,, _
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): L_.\ Part1: Creditors with Priority Unsecured Claims
Number S"°°‘ Cl Part 2: Creditors with Nonpriority Unsecured
Ciaims
4 Last 4 digits of account number _ _ _ _
City State ZlP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part1: Creditors with Priority Unsecured Claims
Nu"‘b°' S"°e‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
ciiy sieie zlP code _ 7 7 _ 7 7
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): Cl Part 1: Creditors with Priority Unsecured Ciaims
N‘-"“b°' S“°e‘ El Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number _ _ _ _
city 7 7 7 7_ slele zchede 7 77
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one): C\ Part 11 Creditors with Priority Unsecured Claims
N per si eei
um f n Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digils of account number _ _ _ _

C`rty State

Ofiicial Form 106ElF

ZlP Code

Schedule EIF: Creditors Who Have Unsecured Claims page _ of _

 

 

wm Natarsha warsoeaseiQ-ioa€?, Doci Fiied 01/22/1%3$€§;§,9€¢(_31 pf 54

if known
First Name Middie Name Last Name

 

 

m Add the Amounts for Each Type of Unsecured Claim

 

 

6. Total the amounts oi' certain types of unsecured claims. Thls lntomiatlon ls for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total claim
Total claims 6a. Domestic support obligations 6a. $ O_OO
from part 1 6b. Taxes and certain other debts you owe the
government 6b. $ 0_00
6e. Claims for death or personal injury while you were
intoxicated 6e. $ 0_()0
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $ ()_()O
6e. Total. Add lines 6a throu h 6d. 6e.
g $ 0.00
Total claim
nw claims 6f. Student loans 6f. $ 0700
from Part 2 69. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0 00
claims Gg. $ '
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. si_ + $ 18,635.31
61. Total. Add lines 6f through 61. 61. s 187635731
OfFicial Form 106ElF Schedule EIF: Creditors Who Have Unsecured Claims page _ of __

§

 

 

 

 

'"*___|

Case 19-10863 DOC 1 Filed 01/22/19 Page 32 Of 54

Fill in this information to identify your case:

Debto, Natarsha Watson
First Name Middie Name

 

Debtor 2
(Spouse lf filing) Fiist Name Middle Name

 

united states Bankruptcy court for the: District of Maryland

c be
(i?::o::;n f n Check if this is an

amended ming

 

 

 

Ofi`icial Form 106G _
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
n No. Check this box and tile this form with the court with your other schedules ¥ou have nothing else to report on this fon'n.
w Yes. Fili in all of the information below even if the contracts or leases are listed on Schedule A/B.' Property (Ofiicia| Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

,?:1i POLANSK\ BoRis SAM residential Lease

Name

2414 DlANA RD

Number sireei

Baltimore MD 21209
city stare ziP code

 

 

‘2.2’

 

Name

 

Number Street

 

,, ,, Cif¥ , , ,,,St,a,!§ , Z'F'.¢Qde_._ ,
2.3

 

Name

 

Number Street

 

C'iv ,,_ t t State v_Z!!’C¢)s¥<zi, , - t
y2.4

 

Name

 

Number Street

 

,, C‘*Y_ ,, ,\ t S‘H*ezlp C°de . , ,
2.55

 

Name

 

Number Street

 

City State ZlP Code

Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of _

 

 

 

§

Case 19-10863 DOC 1 Filed 01/22/19 Page 33 Of 54

Fill in this information to identify your case

pernell Natarsha Watson

First Name Middle Name

Debtor 2
(Spouse, if tillng) Fhsl Name Midliie Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(if known)

 

 

n Check if this is an
amended filing

Officia| Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, botii are equally responsible for supplying correct information. if more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Ariswer every question.

 

_ 1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.)

m No
cl ¥es

y z. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, Ca|ifornia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Vlhsoonsin.)
w No. Go to line 3.
a Yes. Did your spouse, fenner spouse, or legal equivalent live with you at the time?

ElNo

Cl Yes. |n which community state or territory did you |ive? . Fill in the name and current address of that person.

 

Name of your spouse fenner spouse, or legal equivalent

 

Number Street

 

City State ZlP Code

` 3. ln Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Schedule D (Official For'rn 106D), Schedule E/F (Official Form 106EIF), or Schedule G (Official Form 1066). Use Schedule D,
Schedule E/F, or Schedule G to lill out Co|umn 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:
3.1
El schedule D, line ___
Name
El schedule E/F, line
N"'"b°' S“°°' Cl Schedule G, line
oily _ v y stale y ziP code
3.2
El schedule o, line ___
Name
l:l Schedule ElF, line
Number S"°°‘ Cl Schedule G, line
Ci*y,,,_, , , , ,, ,_ _, Sfa*€,,,__ ,_ _ ,.ZlP_C°de
3.3
El Schedule D, line __
Name
El schedule E/F, line
Number S"°e‘ El Schedule G, line
City _ __ State ,_ Z'FC°¢¢
Ofiicia| Form 106H ' Schedule H: Your Codebtors page 1 of___
§

 

 

 

 

"__l

Case 19-10863 DOC 1 Filed 01/22/19 Page 34 Of 54

Fill in this information to identify your case:

Debtor1 Natarsha Watson
m Name Middie Name

Debtor 2
(Spouse, if filing) Flrst Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number Check if this is:

(lf known)
n An amended filing
cl A supplement showing postpetition chapter 13
income as of the following date:

Officia| Form 106| m
Schedule l: Your income lane

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lf you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
|f you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

Part 1: Describe Employment

1. Fill in your employment
’ information Debtor 1 Debtor 2 or non~filing spouse

if you have more than one job,

 

 

 

 

 

 

attach a separate page with
information about additional E"'P'°¥"'°"f 3“*"$ m Emplode n Employed
employers m Not employed n Not employed
include part-time, seasonal, or
self-employed work.
0 u '
Occupation may include student cc pah°n
or homemaker, if it applies
Employer’s name
Employer’s address
Number Street Number Street
City State ZlP Code City State ZlP Code

How long employed there?

m Give Details About Monthly income

Estimate monthly income as of the date you file this fonn. lf you have nothing to report for any line, write $0 in the space. lnclude your non-filing
spouse unless you are separated

lf you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

below. lf you need more spaoe, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or

 

 

 

non-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). lf not paid monthly, calculate what the monthly wage would be. 2. $ o_oo $
3. Estimate and list monthly overtime pay. 3. + $ 0~00 + $
' 4. Calculate gross income. Add line 2 + line 3. 4. $ 0~00 $

 

 

 

 

 

 

Ofncial Form 106| Schedule l: Your income page 1

 

 

 

,,_4`

Case 19-10863 DOC ’l Filed 01/22/19 Page 35 Of 54

 

 

 

Debtor1 Natarsha Watson Case number (irkr»wrn
Fvst Name Middle Name us Name
For Debtor 1 For Debtor 2 or
non~tiligg sguse
Copy line 4 here ............................................................................................... 9 4. $ 0.00 $

5. List all payroll deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Sociai Security deductions 5a. $ 0.00 $
5b. Mandatory contributions for retirement plans 5b. $ Q,QQ $
5c. Voluntary contributions for retirement plans 50. $ 0.00 $
5d. Required repayments of retirement fund loans 5d. $ 0-00 $
5e. insurance 53_ $ 0.00 $
5f. Domestic support obligations 5f. $ 0-00 $
59. Union dues 59. $ 0'00 $
5h. other deductions speoiry: 5h. + 3 0.00 + $
6. Add the payroll deductions Add lines 5a + 5b + 5c + 5d + 5e +5f + 59 + 5h. 6. $ 0.00 $
7. Ca|culate total monthly take-home pay, Subtract line 6 from line 4. 7. $ 0-00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts ordinary and necessary business expenses, and the total $ 0 00 $
monthly net income. 8a. '
ab. interest and dividends ab. 3 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
include alimony, spousal suppori, child support. maintenance, d'worce $ 0 00 $
settlement and property settlement 8c '
8d. Unemployment compensation 8d. $ 0-00 $
8e. Sociai Security 88 $ 0 00
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benetits under the Supplenuental
Nutrition Assistance Program) or housing subsidies
Speciry; SNAP; Foodstamps & Housing Voucher 8f. $ 2,§§§.90 $
Bg. Pension or retirement income 8g. $ 0.00 $
8h. Other monthly income. Specify: Odd jObZ Hail` StyliSi 8h. +$ 1,300.00 +$
" 9. Add all other income. Add lines 8a + 8b + 8c + 8d + se + 8f +8g + 8h. 9. $ 3,883.00 $
10_ Calculate monthly income. Add line 7 + line 9. __
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-ming spouse 10. $M "` $ l" |$ 3’883'00

 

 

 

 

 

, 11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

 

 

friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify; SNAP; Foodstamps & Housing Voucher 11_ + $ 0.00 y
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 3 883 00 `
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Infonnation, if it applies 12. $__.'.._._‘_..
Comblned '

monthly income
y 13. Do you expect an increase or decrease within the year after you file this fonn?

No.
El Yes. Explain;

 

 

 

 

Ofticial Form 106| Schedule l: Your lncome page 2

 

 

 

Case 19-10863 DOC ’l Filed 01/22/19 Page 36 Of 54

Fill ill this information lo identify your case:

Debtor1 N§§;§ha Watson Mm,,,,,,me check ir this is:
Debtor 2 Cl An amended filing

(Spouse, if filing) First Name Middie Name
cl A supplement showing postpetition chapter 13
United States Bankruptcy Court fof thef District Of Maryland expenses as of the following date:

 

 

Case number *"'_""'_°°"_
(m ) MM / DDl YYYY

 

 

Ochiai Form 106J
Scheduie J: Your Expenses wis

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

mbescribe Your Household

1. ls this a joint case?

 

 

 

w No. Go to line 2.
a Yes. Does Debtor 2 live in a separate household?

U No
Cl Yes. Debtor 2 must file Ofiicial Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? [] No

 

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and iii Yes. Fill out this information for Debtor 1 or collier z age with you?
Debtor 2. each dependent .......................... n
Do not state the dependents' daughter 13 m N°
names. Yes
g ¥es
Yes
E] No
Cl Yes
a No
El Yes
3. Do your expenses include w N°
expenses of people other than

, veurselfand yourd¢l>enden\s? g ,Ye$

m Estimate Your ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy liling date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. lf this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

 

include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: your income (Officia| Form 106|.) Y°\"' expenses
4. The rental or home ownership expenses for your residence. include nrst mortgage payments and 2 1
$ , 30.00
any rent for the ground or lot. 4_

 

lf not included in line 4:

 

 

 

4a. Real estate taxes 43. $ 0.00
4b. Property, homeowners or renter’s insurance 4b_ $ 0.00
4d. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d. Homeowner’s association or condominium dues 4d. $ 0-00

Official Form 106J Schedule J: Vour Expenses page 1

 

 

 

Debtor 1 Case number (lrmown)
Flrsl Name Middie Name Last Name
5. Additional mortgage payments for your residence such as home equity loans 5.
6. Uti|lties:
6a. Electricity, heat, natural gas 6a.
6h. Water, sewer, garbage collection 6h.
6e. Telephone, cell phone, lntemet, satellite, and cable services 6c.
6d. Other. Specify: Bd.
7. Food and housekeeping supplies 7.
8. Childcare and chlldren’s education costs 8.
9. Clothing, iaundry, and dry cleaning 9_
10. Persona| care products and services 10.
11. Medical and dental expenses 11.
12. Transportation. include gas, maintenanoe, bus or train fare.
Do not include car payments 12.
13. Entertalnment, clubs, recmation, newspapers, magazines, and books 13.
14. Charitable contributions and religious donations 14.
15. insurance
Dc not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a.
15b. Health insurance 15b.
15c. Vehicle insurance 15c.
15d. Other insurance Specify: 15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16.
17. installment or lease payments:
17d. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.
17c. Other. Specify: 17c.
17d. Other. Specify: 17d.
18. Vour payments of alimony, maintenance. and support that you did not report as deducted from
your pay on line 5, Schedule l, Your lncome (0fficial Form 106|). 18.
19. Other payments you make to support others who do not live with you.
Specify: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your lncome.
20a. Mortgages on other property 20a
20b. Real estate taxes 20b.
zoc. Property, homeowners or renter’s insurance 20c.
zod. Maintenance, repair, and upkeep expenses zod.
20e. Homeowner’s association or condominium dues 20e.
Official Form 106J Schedule J: Your Expenses

 

Case 19-10863 Doc 1

Natarsha Watson

 

 

 

 

 

 

 

 

 

Filed 01/22/19 Page 37 Of 54

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Your expenses

$ 0.00

300.00
$ 27.00
$ §§§.OO
$ 0.00
$ 556.00
$ 0.00
$ 0.00
s 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 241 .00
$ 0.00
$ 0.00
$ 426.00
s 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00

 

 

 

 

Case 19-10863 DOC 1 Filed 01/22/19 Page 38 Of 54

Debtor1 Natarsha Watson
Frrst Name Middie Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from thcial Form 106J-2
220. Add line 22a and 22b. The result is your monthly expenses

23. Calcu|ate your monthly net income.
23a. Copy line 12 (your combined montth income) from Schedule I.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your montth net income

Case number umwa

 

21.

223.

22b.

233.

23b.

230.

24. Do you expect an increase or decruse in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because cfa modihcation to the terms of your mortgage?

m No.

n Yes. ` Explain here:

Ofticial Form 106J Schedule J: Vour Expenses

 

 

 

 

$ 4,015.00
$ 0.00
$ 4,015.00

$ 3,883.00

_$ 4,015.00

$ -132.00
page3

 

 

 

‘ ` Case 19-10863 DOC 1 Filed 01/22/19 Page 39 Of 54

Fill in this information to identify your case:
Debtor1 ' _//§//2£ %M/q ~
HrstName MiddteName LastName

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Maryland

Case number
(lf known)

 

El check ifihis is an
amended filing

 

 

Official Form 106Dec
Declaration About an individual Debtor’s Schedules wis

 

 

lf two married people are filing together, both are equally responsible for supplying correct information.

You must tile this form whenever you tile bankruptcy schedules or amended schedules. Making a false statement concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

-Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

n No
w Yes. Name of person There$a l"layW¢)Od . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
Signature (thcial Form 119)4

Under penalty of perjury, l declare that l have read the summary and schedules med with this declaration and

 

 

 

that they are true and correct.
archdime x
Signature of Debtor 1 Signature of Debtor 2
Date O/ 21 20 l j Date
MM / on / YYYv MM/ op / va
thcial Form 106Dec Declaration About an individual Debtor’s Schedules

 

 

 

 

i_;|

Case 19-10863 DOC 1 Filed 01/22/19 Page 40 Of 54

Fill in this information to identify your case;

Debtor1 Natarsha Watson
Fbst Name Miridie Name

 

Debtor 2

(spouse,iiniing) Fismame immune 23§9 J§E,P% 22 PH 2; 57

United States Bankruptcy Court for the: District of Maryland z
‘ il iii§§
Check if this is an
amended filing

 

 
 
 

     

Case number
(lf known)

 

 

 

Official Form 107
Statement of Financial Affairs for individuals Filing for Bankruptcy 12115

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct

information. if more space is needed, attach a separate sheet to this fonn. On the top of any additional pages, write your name and case
' number (if known). Answer every question.

 

Give Detai|s About Your Maritai Status and Where You Lived Before

1. What is your current marital status?

n Married
w Not married

2. During the last 3 years, have you lived anywhere other than where you live now?
n No

a Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
cl Same as Debtor1 a Same as Debtor1
20 Alexa:der Ct me 11/01/2013 From
N be treei N t
""‘ ' 10 11/01/2018 ""‘°e' S"°e To
20 Alexander Ct
Owings Mills MD 21117
City State ZlP code city state ziP code
a Same as Debtor1 m Same as Debtor1
From From
Number Street Number Street
To To
city State ziP code city State ziP code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Communi'ty property
states and territories include Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

m No
cl Yes. Make sure you fill out Schedule H: Your Codebtors (Oflicial Form 106H).

Part 2: Explain the Sources of ¥our income

thcial Form 107 Statement ct Financial Affairs for individuals Filing for Bankruptcy page 1

 

 

 

 

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Debtor1 Natarsha Watson

Case number grimm
First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
n No
|Z ves_ Fiii in the deiaiis.

 

 

 

 

Sources of income Gross income Sources of income Gross income
Check all that appiy. (before deductions and Check all that appiy. (before deductions and
exclusions) exdusicns)
From January 1 of current year until g gag”' °‘t’immissi°"$' $ 725.00 cl Haes' C‘:immissi°"s' $
the date you filed for bankruptcy: ""s%’ vs _°°_‘°'_*_ "“ses' ps
a Operating a business n Operating a business
For last calendar year m Wages, commissions, a Wages, commissions
' bonuses, tips $ Z0,000.00 bonuses. tips $
(January 1 t° December 3112018_.___) m Operating a business n Operating a business
For the calendar year before mar w Wages. commissions cl Wages, commissions
' bonuses, tips $ 20 000 00 bonusec, tips $
(January 1 t° December 31-2017 cl Operatinga business ' ' " " '° n Operatinga business

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable Examp|es of other income are alimony; child support Sociai Security,
unemployment and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. if you are iiling a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately Do not include income that you listed in line 4.

inc

El Yes. Fiii in the details

 

Sources of income Gross income from Sources or income Gross income from
gescribe below each source Des¢n'be bei°w_ each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until … $--_~__~____ _*_°'*'_"~_--- $

 

 

 

 

 

 

 

 

 

the date you filed for bankruptcy: $

For last calendar year: $ $

(January 1 to December 31 ,2018 ) 3 $
YYYv

For the calendar year before that: $ $

 

(January 1 to December 31,2018 )
wYY

 

Official Form 107 Statemmt of Financial Aftairs for individuals Filing for Bankruptcy page 2

 

 

 

"_4|

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Debtor 1 Natarsha Watson Case number miami
First Name Middie Name Last Name

 

must Certain Fayments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
n No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?

El No. soto line 7.

n Yes. List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and aiimony. Also, do not include payments to an attorney for this bankniptcy case.

* Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or alter the date of adjustrnent.

m Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

w No. Go to line 7.

Cl Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Dates of Total amount paid Amount you still owe Was this payment for...
payment
d $ $ cl Mortgage
Creditors Name
n Car
Number sewer m Credit card
a Loan repayment
n Suppliers or vendors
cry siaie ziP code n O”‘e'
$ $ cl Mortgage
Creditors Name
n Car
Number street n Credit card
n Loan repayment
n Suppliers or vendors
city stare ziP code n Other
$ $ n Mortgage
creditors Name
n Car
Number Street Cl credit card
cl Loan repayment
El Suppliers or vendors
cary stare ziP code m other
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3

 

 

 

 

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Debtom Natarsha Watson

Case number army
First Name Middle Name Last Name

 

 

 

7. Wrthin 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an ofiicer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

MNo

a Yes. List ali payments to an insider.

Dates of Total amount Amount you still Reason for this payment
payment paid owe

 

$ $
insiders Name

 

 

Number Street

 

 

city stare ziP code

 

insiders Name

 

Number Street

 

 

City State ZlP Code

s. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?

include payments on debts guaranteed or cosigned by an insider.

MNo

CI Yes. List ali payments that benefited an insider.

 

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment

payment pam °w° include creditors name y
rnsiders'Name s s
Number Street
city stare ziP code

$ $
insiders Name "°"_"'”
Number street °°“"_‘°"_
city stare ziP code
Ofncial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 4

 

 

 

 

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Debtor 1 Natarsha Watson
First Name Middle Name Last Name

Case number rimm)

 

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any iaweuit, court action, or administrative proceeding?
List ali such matters, including personal injury cases. small claims actions, divorces, collection suits, paternity actions, support or custody modifications
and contract disputes.

MNo

Ei Yes. Fiii in the detaiis.

 

 

 

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Wrif Of GarniShment D|STR|CT COURT BALTO. C|TY
case urie CONTRACT y com Name Cl Pending
1400 E. NoRTi-i AvE m °" a°°“‘
y Number street [] Concluded
case number 01010003694201 1 BALTiMoRE MD 21213
City State ZlP Gode
Case title own Name n Pending
n On appeal
Number srreer n Conciuded
Case number
City State ZlP Code

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized. or levied?
Check ali that apply and ii|i in the details below.

M No. Goroiineii.
L`.l Yes. Fiii in me information below.

 

 

 

 

 

 

 

 

 

 

Describe the property Date value of the property
_ $
Creditors Name
Number Street Explain what happened
n Property was repossessed
n Property was foreclosed
Cl Property was gamished.
cary stare ziP cone El Property was attached seized, or levied
Descrlbe the property Date Value of the property
$
Creditors Name
Number srreer ` '
Expiain what happened
m Property was repossessed.
l;l Property was foreclosed
city State Z|P Code a Property was gamished.
Cl Property was attached seized, or levied
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

 

 

 

 

 

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Debtor 1 Natarsha Watson Case number nimmo
Fist Name Middte Name Last Name

 

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

mNo

|I] Yes. Fill in the detaiis.

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name
Number street $
City State ZlP Code Last 4 digits of account number: XXXX-____ ___ ___ __

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benth of
creditors, a court-appointed receiver, a custodian, or another ofticial?

m No
cl Yes

List Certain Gifts and Contributions

 

y 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

MNo

n Yes. Fill in the details for each gift.

Gifts with a total value of more than $500 Describe the gifts Dates you gave Value
per person the gifts
________ $ ‘

 

 

Person to Whom You Gave the Gift

 

 

Number Street

 

city state ziP code

Person's relationship to you

 

Gifls with a total value of more than 5600 Describe the gifts Dates you gave Value
per person , , ,, , , t the gifts

 

Person to Whom You Gave the Gii’l

 

 

Number Street

 

City State ZlP Code

Person's relationship to you

 

Ofticial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6

 

 

 

 

 

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Debtor 1 Natarsha Watson Case number army
lrst Name Mlddle Name Last Name

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

mNo

El ves. Fiir in the details for each gift or contribution

 

 

 

 

 

 

Gitts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed
. $
Chanty's Name
$
Number Street
city state ziP code

List Certaln Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

MNo

E] Yes. Fill in the details

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
lost

how the lou occun'ed _ . . . .
include the amount that insurance has paid List pending insurance

claims on line 33 of Schedule A/B: Property,

 

List certain Paymen\s or Transfers

§ 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
lnclude any attorneys, bankruptcy petitlo}t preparers, or credit counseling agencies for services required in your bankruptcy.

mNo

g El Yes. Fiti in the details

 

 

 

 

 

 

 

Descrlption and value of any property transferred Date payment or Amount of payment

§ transfer was
Person who was paid , , , , m , , s made

Number Street _ $ §

$ %

§ city State ZlP code
Email or website address
5 PersonvvhoMauethePayment,irNotvou
Ofticial Form 107 Statement of Financial Affalrs for individuals Filing for Bankruptcy page 7

 

 

 

 

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Emai| or website address j

Debtor1 Natarsha Watson ' casenumbe~,-,m>
F'lst Name Middie Name Last Name
§ Description and value of any property transferred Date payment or Amount of
"' transfer was made payment
Person Who Was Paid
$
Number street
s
city state zlP code

 

Person Who Made the Payment, if Not Vou

 

` 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who t
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16. §

MNo

Cl Yes. Fill in the details

 

 

 

 

 

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment ;
transfer was §
made ':

person Who was Paid
t

Number Street g
l

s

city state zlP code §

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or othenuise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement
No
El Yes. Fill in the details

 

 

 

 

 

 

 

 

 

Description and value of property bescribe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Reoeived Transfer

Number street

city state ziP code

Person’s relationship to you

Person Who Received Transfer

Number Street

city state ziP code

Person’s relationship to you

Offlcial Form 107 Statement of Financial Affairs for lnd'widuals Filing for Bankruptcy page 8

 

 

 

 

, *_‘

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Debtor1 Natarsha Watson cmnumber(rm,
Fist Name Mwle Name Last Name

 

19.Wlthln 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

mNo

El Yes. Fill in the details.

Descrlption and value of the property transferred Date transfer
was made

 

Name of trust _____________________ ______

 

 

 

unmnnmneluaeeeunu,lnmmena,sareo¢pe¢nsexn,sndswm¢eunla

‘: 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed. sold, moved, or transferred?

lnclude checking, savings, money market, or other Enancial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

El No
|'.'l Yee. Fill in the dewils.
Last 4 digits of account number Type of account or Date account was Last balance before

instrument closed, sold, moved, closing or transfer
or transfen'ed

 

N f Fl `al lnstltuii
amco nancr on XXXX_ a checking s

Number street m Savings
m Money market

n Brokerage
clty state zchode n other

 

 

 

 

XXXX- cl Checking $

Name of Financial institution "' ""'”
n Savings

 

Number street n Money market
m Brokerage
cl other

 

 

 

Clly State ZlP Code

` 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

q No

El Yes. l=ill in the detailsh

 

 

 

 

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still

have lt?
m No

Name et Financial institution Name cl Yes

Numb€f Smf Numr sm

city slate zchede
city state zlP cede
Offlciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 9

 

 

 

 

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Debtor1 Natarsha Watson case number (,,,,,,m)
Flst Name Middle Name Last Name

, 22.Have you stored property in a storage unit or place other than your horne within 1 year before you filed for bankruptcy?
x No §
Cl Yes. Flll in the details.

 

Who else has or had access to it? Describe tile contents Do you still
have it?
n No
Name of Storage Facility Name n Yes
Number street Number street

 

 

CitySB|B Z|F Code

 

city state zll> code

mdentlfyl’roporty¥ou l'loldorcontrolfor$omoonollso

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
w No
Cl Yes. Fill in the dewils.

 

 

 

 

 

 

 

 

Where is the property? Describe the property Value
Owner's Name $

" * street

Number Street

city state zll> code clty op

Give llot¢lls About lrrvlronrnontal information

For the purpose of Part 10, the following definitions apply:

l Environmental law means any federa|, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soii, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substancesl wastes, or material.

rr Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

n Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

mNo

U Yes. Fill in the detaile.

 

 

 

 

 

Govemmenta| unit Environmenlai law, if you know it _ y Date of notice
Name of site Governmental unit
Number Street Number Street
city state zip code
city slate zll> code
Ofiiciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 10

 

 

 

 

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Debtor1 Natarsha Watson Case number (,,,mm,
Ftst Name Middie Name Lm Name

 

 

25. Have you notified any govemmental unit of any release of hazardous materiai?

mNo

E] Yes. Fiu in the dewiis.

 

 

 

 

 

 

 

 

Govemmental unit Envlronmental law, ifyou know it Date of notice
:“ Name of 909 Governmentol unit 5 --_- §
§ Number Street Numh¢¢ sm
§

 

city sane ziP code §

§ 26.Have you been a party in any judicial or administrative proceeding under any environmental iaw? include settlements and orders.

mNo

L'.`.l Yes. Fill in the details

 

 

 

 

 

 

Court or agency Nature of the case :;:t:s of the
Case title m
com mm Pending
a On appeal
Number Street a Conc|uded
Case number city scm ziP code

Givebotlllslbout¥ow!uslnmor¢onnoetlonstolny!usinose

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
cl A member of a limited liability company (LLC) or limited liability partnership (LLP)
Cl A partner in a partnership
n An officer, director, or managing executive of a corporation

 

n An owner of at least 5% of the voting or equity securities of a corporation

U No. None of the above applies so to Part 12.
n Yes. Check all that apply above and fill in the details below for each business.

 

 

 

 

 

 

 

 

 

 

 

 

Descrlbe the nature of the business Employer identification number q
owns mm Do not include Sociai Security number or iTiN.
EiN:______-______.__.______._.__
Number street , , _ . , , , _
Name ofaccountant or bookkeeper _ Dates business existed
From To 1
city sma ziP code y § y
l Describe the nature of the business Employer identification number
_ Do not include Sociai Security number or iTiN.
Business Name
ElN.____-_________________
Number sent ' ' ' "
Name of accountant or bookkeeper bates business existed §
From To
city sure ziP code
Officia| Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11

 

 

 

 

 

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Debtor1 A/¢'cmr§%i/¢ M¢fs"m.

Flrst Name Middle Name Last Name

Case number arkrmm>

 

Describe die nature of the business Empl°y°r ld°mm“"°" number
, , , , _ , Do not include Sociai Security number or iTiN.

 

Business Name

 

 

ElN________-_______.______.__.___-_.
N"'"b°' sm Name of accountant or bookkeeper Daw$ business existed
~ From T0 ______

 

 

City State ZlF Code

zs. Within 2 years before you filed for bankruptcy, did you give a iinancial statement to anyone about your business? include all financial
institutions, creditors, or other parties.

UN¢

Ei Yes. Fill in the details belcw.

Data lssued

 

Name lrllr/l:)o/YYW

 

Number St"d

 

 

clry stare zli» code

 

 

 

z`

 

mr "'"

l have mad the answers on this Statement of Financial Affairs and any attachments, and l declare under penalty of perjury that the
answers are true and correct l understand that making a false statement concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C.§§152, 1341, 1519, and 3571.

wmatame x

signature omava signature ornehwrz

Dateo/ L, w z z Data

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

d No
n Ves

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

 

 

 

 

 

 

n No
m Ves. Name of person Theresa HaYWOOd . Attach the Bankruptcy Petition Preparer’s Notice,
Declarafion, and Signafure (Oflicial Form 119).
Off'lciai Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

 

 

 

 

 

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United States Bankruptcy Court

District of Maryland
In Re: /t/d'[/U/§%J( szi&)/) . Case Number:
Debtor(s) Chapter: 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtors hereby verify that the attached list of creditors is true and correct to the best of their
knowledge

Date: a ` Z/’ 216/q

Signature of Debtor(s): /5] WM’?)?D“WU
/s/

 

‘ZBZS §§ 22 P%‘i 2157

 

 

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Abi|ity Recovery Service
POB 4031
Wyoming, PA 18644

Capital One Bank
PO Box 30281
Sa|t Lake City, UT 84130

Credence Resource Management
POB 2300
Southgate, M| 48195

Credit One Bank
PO Box 98872
LAS VEGAS, NV 89193

EQU|TY MANAGEMENT |NC., DAY VILLAGE APARTMENTS
511 AVONDALE RD
Baltimore, MD 21222

First Premier Bank
3820 N Louise Ave
Sioux Fa||s, SD 57107

Geico

5260 Western Avenue
Chevy Chase, MD 20815
Home Depot

2455 Paces Ferry Rd. NW
Atlanta, GA, 30339

Koh|s
PO BOX 30285
SALT LAKE, UT 84130

MARSDEN, ELL|O`|T JAY
ONE N CHARLES ST.,#ZBOO
Baltimore, MD 21201

M&T Bank
One M&T Plaza
Buffa|o, NY 14203

Nordstrom
1700 7th Ave
Seatt|e, WA 98101

 

 

 

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Progressive Leasing
256 West Data Dr
Draper, UT 84020

Square Capital
1455 N|arket St
San Francisco, CA 94103

Target
1000 Nico||et Ma||
Minneapo|is, MN, 55403

Verizon
500 Techno|ogy Dr Ste 300
We|don Spring, CO 63304

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